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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR264
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
JUANA TAPIA-BORGAS,                               )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion for an extension of time by defendant
Juana Tapia-Borgas (Tapia-Borgas) (Filing No. 19). Tapia-Borgas seeks an additional
thirty days in which to file pretrial motions in accordance with the progression order. Tapia-
Borgas's counsel represents that Tapia-Borgas will file an affidavit wherein she consents
to the motion and acknowledges she understands the additional time may be excludable
time for the purposes of the Speedy Trial Act. Tapia-Borgas's counsel represents that
government's counsel has no objection to the motion. Upon consideration and for good
cause shown, the motion will be granted.
       IT IS ORDERED:
       Defendant Tapia-Borgas's motion for an extension of time and for a continuance of
trial (Filing No. 19) is granted. Tapia-Borgas is given until on or before September 12,
2008, in which to file pretrial motions pursuant to the progression order. The ends of justice
have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the
motion, i.e., the time between August 13, 2008 and September 12, 2008, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(8)(A) & (B). Trial of this matter will be rescheduled following the disposition of
any pretrial motions filed in accordance with this order or upon the expiration of the
deadline set forth herein whichever occurs later.
       DATED this 13th day of August, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
